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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  LISA BARBOUNIS,
                                                       Case No. 2:19-cv-05030-JDW
                 Plaintiff,

         v.

   THE MIDDLE EAST FORUM, et al.,

                 Defendants.

                                              ORDER

        AND NOW, this 25th day of June, 2021, it is ORDERED as follows:

        1.      No later than September 17, 2021, counsel for each party shall exchange a list

identifying each exhibit the party expects to offer at trial;

        2.      No later than September 24, 2021, each party shall file a pretrial memorandum.

The Parties shall include in their pretrial memoranda all information required by Fed. R. Civ. P.

26(a)(3) and Local Rule of Civil Procedure 16.1, including but not limited to the following:

                a)      the identity of each expert witness to be called at trial by the party with a

                        summary of the expert’s opinions;

                b)      the identity of each fact witness to be called at trial with a concise statement

                        of the nature and substance of the expected testimony (witnesses not listed

                        may not be called by that party in its case-in-chief);

                c)      designations, specifically citing those portions by page and line number, of

                        written or video deposition testimony to be offered at trial;

                d)      an itemized statement of damages or other relief sought; and

                e)      a statement of any anticipated important legal issues on which the Court

                        will be required to rule;
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       3.      All motions in limine shall be filed on or before October 1, 2021. Responses, if

any, shall be filed no later than October 29, 2021;

       4.      No later than November 24, 2021, the Parties may file proposed jury instructions

on   substantive    issues    with   an      electronic   copy   e-mailed    in   Word     format    to

Chambers_of_Judge_Wolson@paed.uscourts.gov with “jury instructions” in the subject line.

Proposed jury instructions should be submitted as a joint submission, and for any instructions on

which the Parties do not agree, plaintiff’s proposal shall be in italics and defendant’s submission

shall be in bold, with citations to the sources of law upon which each proposed instruction is based;

       5.      No later than December 17, 2021, each party may submit proposed jury questions

for voir dire via e-mail in Word format to Chambers_of_Judge_Wolson@paed.uscourts.gov with

“voir dire questions” in the subject line;

       6.      On or before January 3, 2022, the Parties shall submit to the Court all exhibits that

the Parties intend to use at trial. If the Parties intend to present evidence electronically, then the

exhibits shall be submitted electronically (on a memory stick, CD, or DVD) with each exhibit as

a separate file. If the Parties do not intend to present evidence electronically, then the exhibits

shall be submitted in a binder, with each exhibit separately tabbed. Exhibits shall be consecutively

numbered (i.e., Ex. 1, Ex. 2, etc., rather than P-1, P-2, etc. and D-1, D-2, etc.), and the Parties must

confer in advance of the submission to eliminate duplication in the exhibits that they submit. The

exhibits must be accompanied by a table of contents that lists each exhibit and sets forth whether

there is an objection to the admission of the document in evidence at the trial and the basis for any

such objection;

       7.      A final pretrial conference will be held on January 4, 2022, at 10:00 a.m. in Room

3809, United States District Court, 601 Market Street, Philadelphia, PA 19106. Counsel shall be



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prepared to discuss any pending motions in limine, objections to witnesses and exhibits, and any

stipulations of uncontested facts; and

       8.      Trial is scheduled for January 6, 2022 at 9:30 a.m. at the United States District

Court, 601 Market Street, Philadelphia, PA 19106, in Courtroom 3B.

                                                   BY THE COURT:


                                                   /s/ Joshua D. Wolson
                                                   JOSHUA D. WOLSON, J.




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